Case 1:22-cv-02334-TSC Document 29-2 Filed 02/27/23 Page 1 of 6
Case 1:22-cv-02334-TSC Document 29-2 Filed 02/27/23 Page 2 of 6
Case 1:22-cv-02334-TSC Document 29-2 Filed 02/27/23 Page 3 of 6
Case 1:22-cv-02334-TSC Document 29-2 Filed 02/27/23 Page 4 of 6
Case 1:22-cv-02334-TSC Document 29-2 Filed 02/27/23 Page 5 of 6
Case 1:22-cv-02334-TSC Document 29-2 Filed 02/27/23 Page 6 of 6




                                 Andrea M.        Digitally signed by Andrea M.
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